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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK


   RUBEN WILLS,                          Hon. Brian M. Cogan

                     Plaintiff           CASE 1:20-cv-04432-BMC-VMS
         vs.

   MICROGENICS CORPORATION, ET AL.       MEMORANDUM OF LAW IN SUPPORT
                  Defendants             OF DEFENDANT THERMO FISHER
                                         SCIENTIFIC INC.’S MOTION TO
                                         DISMISS PLAINTIFF'S SECOND
                                         AMENDED COMPLAINT
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         Defendant Thermo Fisher Scientific Inc. (“TFSI”) submits this memorandum to set forth

  additional grounds for dismissing Plaintiff’s Second Amended Complaint (the “Complaint”). TFSI

  also joins in Defendant Microgenics Corporation’s arguments for dismissing the Complaint.

  I.     INTRODUCTION

         Plaintiff’s claims arise from Microgenics’ contract with the New York Department of

  Corrections and Community Supervision (“DOCCS”) to supply urinalysis analyzers,

  immunoassays, and certain related services. TFSI is Microgenics’ indirect corporate parent. TFSI

  was not a party to the contract between Microgenics and DOCCS. And the Complaint does not

  plausibly allege that TFSI undertook any responsibilities, or provided any goods or services, with

  respect to the contract. Nor does the Complaint allege—plausibly or otherwise—any basis for

  disregarding corporate separateness. Accordingly, and in addition to the reasons set forth in

  Microgenics’ motion to dismiss, the Complaint fails to state a claim against TFSI, and TFSI is

  entitled to dismissal.

  II.    FACTUAL BACKGROUND

         TFSI is a Delaware corporation with its headquarters in Boston, Massachusetts. Compl.

  [ECF 25] ¶ 5. TFSI is the indirect corporate parent of Microgenics Corporation, which does

  business under the name “Thermo Fisher Scientific” and whose direct corporate parent is Thermo

  Fisher Scientific Germany BV & Co. KG. See Thermo Fisher Form 10-K, Ex. 21: Subsidiaries of

  the                  Registrant,                https://www.sec.gov/Archives/edgar/data/97745/

  000009774520000009/tmo201910kex21.htm (last accessed Apr. 21, 2020) (identifying

  Microgenics’ corporate parentage); Compl. ¶ 5 (alleging that TFSI is Microgenics’ parent




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  corporation);1id. ¶¶ 5, 42 (noting that Microgenics does business under the name “Thermo Fisher

  Scientific”); Contract No. CC161458, Appendix H [Ex. 12] (same).3

            TFSI is not a party to Microgenics’ contract with DOCCS for the supply of urinalysis

  analyzers, immunoassays, and related services. Compl. ¶ 4; see Contract No. CC161458 [Ex. 1]

  (stating that the agreement is between DOCCS and “Microgenics Corporation (hereinafter

  ‘CONTRACTOR’), with its principal office located at 46500 Kato Road, Fremont, CA”). The

  contract expressly identifies the contractual parties as DOCCS and Microgenics, with no mention

  of TFSI as a co-contractor or co-party:




  Contract No. CC161458 [Ex. 1] at 1.


  1
   The Court may take judicial notice of SEC filings and consider them in connection with a Rule
  12 motion. Citadel Equity Fund Ltd. v. Aquila, Inc., 168 F. App’x 474, 476 (2d Cir. 2006).
  2
      All exhibits are attached to the contemporaneously filed Declaration of Christopher R. Carton.
  3
   The contract between DOCCS and Microgenics is integral to the Complaint, and the Court may
  consider it. See, e.g., Interpharm, Inc. v. Wells Fargo Bank, Nat’l Ass’n, 655 F.3d 136, 141 (2d
  Cir. 2011) (“Where . . . certain contracts are integral to the complaint, we [ ] consider those
  documents.”).

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         Likewise, the signature page for the bid Microgenics submitted to secure the contract solely

  identifies Microgenics Corporation as the bidding company, while noting that Microgenics does

  business as “Thermo Fisher Scientific”:




  Contract No. CC161458 [Ex. 1], App. H.

  III.   ARGUMENT

         To withstand a motion to dismiss under Rule 12(b)(6), “‘a complaint must contain

  sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.’”

  Concord Assocs., L.P. v. Entm’t Props. Trust, 817 F.3d 46, 52 (2d Cir. 2016) (quoting Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2007)). Although courts “construe the pleadings liberally, ‘bald

  assertions and conclusions of law will not suffice.’” Spool v. World Child Int’l Adoption Agency,

  520 F.3d 178, 183 (2d Cir. 2008) (quoting Leeds v. Meltz, 85 F.3d 51, 53 (2d Cir. 1996)). To meet

  muster, the “plaintiff’s factual allegations must be enough to give the defendant fair notice of what

  the claim is and the grounds upon which it rests.” Port Dock & Stone Corp. v. Oldcastle Ne., Inc.,

  507 F.3d 117, 121 (2d Cir. 2007) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)).

         A.      The Complaint fails to plausibly allege a claim against TFSI.

         As pleaded, Plaintiff’s claims arise out of Microgenics’ contractual agreement to supply

  DOCCS with urinalysis analyzers, immunoassays, and related services. See generally Compl. ¶¶

  43–49, 72, 77–80, 119. Plaintiff acknowledges that Microgenics is the corporate entity that entered

  into the supply contract with DOCCS. Compl. ¶ 4. He also acknowledges that Microgenics and


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  TFSI are separate corporate entities, with the former being an (indirect) subsidiary of the latter.

  Compl. ¶ 5. And he further acknowledges that Microgenics does business under the name “Thermo

  Fisher Scientific.” Compl. ¶¶ 5, 21. Nevertheless, Plaintiff lumps Microgenics and TFSI together

  throughout the Complaint, referring to them as the “Microgenics Defendants” and insisting they

  jointly entered into the supply contract with DOCCS. Compl. ¶¶ 5, 32, 43. The contract’s plain

  terms contradict Plaintiff’s conclusory allegations and entitle TFSI to dismissal.

                 1.      The supply contract establishes that TFSI was not a party to
                         Microgenics’ bid to supply urinalysis products and services to
                         DOCCS or the resulting contract and that it did not incur any rights
                         or obligations under the contract.

         Plaintiff baldly asserts that Microgenics and TFSI jointly bid for the supply contract with

  DOCCS and jointly entered into contract to supply urinalysis analyzers and related products and

  services to DOCCS. But even at the Rule 12 stage, the express terms of the contract—not

  Plaintiff’s erroneous allegations about their terms—should control the analysis. See, e.g. Ace Sec.

  Corp. Home Equity Loan Trust, Series 2007-HE3, ex rel. HSBC Bank USA, Nat’l Ass’n, 5 F. Supp.

  3d 543, 551 (S.D.N.Y. 2014) (explaining that if “a document relied on in the complaint contradicts

  allegations in the complaint, the document, not the allegations, control, and the court need not

  accept the allegations in the complaint as true” (internal quotations marks and citation omitted));

  In re Livent, Inc. Noteholders Sec. Litig., 151 F. Supp. 2d 371, 405–06 (S.D.N.Y. 2001) (noting

  that a court need not accept allegations “contradicted either by . . . documents upon which [the]

  pleadings rely, or by facts of which the court may take judicial notice” (citation omitted)). And

  those express terms conclusively refute Plaintiff’s contentions.

         When, as in this case, there is a dispute as to whether a particular person or entity is a party

  to a contract, New York courts apply ordinary rules of contract interpretation. See, SUS, Inc. v. St.

  Paul Travelers Grp., 75 A.D.3d 740, 742–43, 905 N.Y.S.2d 321 (2010) (applying contract-


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  interpretation rules to determine that contracting insurer’s affiliated companies were not co-parties

  to the contract); Kashfi v. Phibro-Salomon, Inc., 628 F. Supp. 727, 731–32 (S.D.N.Y. 1986)

  (applying contract-interpretation rules to conclude that parent corporation was not a party to the

  subsidiary’s contract with the plaintiff). Under New York law, contract interpretation is a threshold

  question of law to be determined by the court and is “suitable for disposition on a motion to

  dismiss.” Citibank, N.A. v. Jacobsen, NO. 19-CV-959 (DAB)(JLC), 2020 WL 772497, at *7

  (S.D.N.Y. Feb. 18, 2020) (citation omitted); accord Kohl’s Dep’t Stores, Inc. v. Rongrant Assocs.,

  LLC, No. 04-CV-4907 (NGG)(MDG), 2005 WL 1263613, at *1 (E.D.N.Y. May 27, 2005). And

  where, as here, contract terms are unambiguous, the court is “required to give effect to the contract

  as written.’” U.S. Trust Co. of N.Y. v. Jenner, 168 F.3d 630, 632 (2d Cir. 1999) (internal quotation

  marks and citation omitted).

         Plaintiff’s conclusory allegations that TFSI and Microgenics jointly bid for the DOCCS

  contract and jointly entered into a written agreement with DOCCS does not withstand even passing

  scrutiny. Microgenics’ bid, which is incorporated into the resulting contract, includes a bid-

  signature page that identifies the “Legal Business Name of the Company Bidding” as “Microgenics

  Corporation.” Contract No. CC161458 [Ex. 1], App. H. The bid signature page also acknowledges

  that Microgenics does business under the name “Thermo Fisher Scientific” (not Thermo Fisher

  Scientific Inc.) Id. The bid signature page notably does not mention TFSI, nor is TFSI mentioned

  anywhere in the bid.

         Consistent with the bid, the integrated contract executed by Microgenics and DOCCS

  identifies the “Contractor” as “Microgenics Corporation.” Contract No. CC161458 [Ex. 1] at 1.

  The contract prohibits subcontracting without approval from DOCCS. Id. at 2. It also provides that




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   Microgenics “shall, at all times during the AGREEMENT term remain responsible.” Id. at 5. The

   lengthy contract runs approximately 150 pages, but it never mentions TFSI.

          Nevertheless, in a transparent effort to plead around corporate separateness, and in sharp

   contradiction to the plain terms of the operative contract, Plaintiff groups Microgenics and TFSI

   together throughout the Complaint to suggest that TFSI somehow jointly undertook obligations

   with Microgenics under the supply agreement with DOCCS:

          •   “In September 2018, DOCCS entered into a five-year contract . . . with the Microgenics

              Defendants”;

          •   “The Contract required the Microgenics Defendants to conduct onsite training”;

          •   “The Contract required the Microgenics Defendants to provide support and

              maintenance;

          •   “The Contract required       the Microgenics Defendants’ employees to testify at

              disciplinary hearings.”

   Compl. ¶¶ 43–46 (emphasis added). Plaintiff does not, however, aver a single fact explaining how

   or why TFSI, as Microgenics’ indirect parent company and a non-signatory to the contract with

   DOCCS, would have incurred any rights, obligations, responsibilities, or liabilities under the

   contract for which it did not bid and which it did not sign. See Compl. ¶ 48 (asserting that “Thermo

   Fisher Scientific” was “responsible for providing services under the Contract,” but failing to allege

   any facts identifying responsibilities that TFSI supposedly incurred or explaining how or why TFSI

   incurred responsibilities). And the contract’s plain language unequivocally refutes Plaintiff’s bald

   allegation that TFSI was a party to the contract or assumed any duties thereunder.

          Plaintiff seemingly implies that Microgenics’s use of the name “Thermo Fisher Scientific”

   (sometimes shortened to “Thermo Scientific”) somehow supports a conclusion that Microgenics’


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   contract with DOCCS bound TFSI as well. See Compl. ¶¶ 37–42. But in the context of both the

   bid and the broader contract, Thermo Fisher Scientific unambiguously refers to Microgenics, not

   to TFSI. As noted, the contract expressly states that Microgenics does business under the name

   “Thermo Fisher Scientific.” Contract No. CC161458 [Ex. 1], App. H. And it is axiomatic that a

   doing-business-as designation refers, not to a different legal entity, but to a different name under

   which a single legal entity does business. See, e.g., Duval v. Midwest Auto City, Inc., 425 F. Supp.

   1381, 1387 (D. Neb. 1977) (explaining that “doing business as” is “merely descriptive of the

   person or corporation who does business under some other name” and does not create an entity

   distinct from the person or corporation operating the business). Thus, for the purposes of

   Microgenics’ contract with DOCCS, Thermo Fisher Scientific necessarily refers to Microgenics,

   not to TFSI. Indeed, Plaintiff expressly acknowledges as much in the Complaint. Compl. ¶ 42

          The conclusion that, within the four corners of the contract, the names Microgenics and

   Thermo Fisher Scientific refer to Microgenics is correct for an additional reason. When

   interpreting a contract, a court should avoid an interpretation that would render an express term

   meaningless. Yet by ignoring the identity of meaning created by the contract’s doing-business-as

   acknowledgement, Plaintiff would strip Thermo Fisher Scientific of any meaning within the

   context of the contract. Plaintiff seemingly labors under the misapprehension that if Thermo Fisher

   Scientific does not refer to Microgenics, it necessarily refers to TFSI. In fact, however, there are

   dozens of legal entities in the Thermo Fisher Scientific family with the words “Thermo Fisher

   Scientific” in their legal names. See Thermo Fisher Form 10-K, Ex. 21: Subsidiaries of the

   Registrant,              https://www.sec.gov/Archives/edgar/data/97745/000009774520000009/

   tmo201910kex21.htm (last accessed February 5, 2021). For example. Microgenics’ direct parent

   company is nonparty Thermo Fisher Scientific BV & Co. KG, id., and the entity that manufactures



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   the immunoassay used to screen Plaintiff for buprenorphine is nonparty Thermo Fisher Scientific

   Oy, see 510(k) Substantial Equivalence Determination Decision Summary, 510(k) Number

   k110035, https://www.accessdata.fda.gov/cdrh_docs/reviews/K110035.pdf [Ex. 2 to Carton TFSI

   Decl.] (last accessed February 5, 2021) (identifying Thermo Fisher Scientific Oy as the 510(k)

   applicant). Thus, by ignoring the contract’s provisions establishing that Thermo Fisher Scientific

   refers to Microgenics, Plaintiff would render meaningless the contract’s references to Thermo

   Fisher Scientific. Such an interpretation is improper and should be rejected.

          Under the contract’s plain language, TFSI was not a party to Microgenics’ contract with

   DOCCS and incurred no obligations under the contract.

                  2.      Plaintiff has not plausibly alleged any basis for ignoring corporate
                          separateness.

          Plaintiff’s resort to group pleading on the basis of TFSI’s corporate relationship with

   Microgenics does not suffice to state a claim against TFSI as a non-signatory to the contract with

   DOCCS. To the contrary, a “‘parent corporation may not be held liable for the contracts … of its

   subsidiary solely because of stock ownership.” Maki v. The Travelers Cos., 145 A.D.3d 1228,

   1230, 44 N.Y.S. 3d 220 (2016) (quoting A.W. Fiur Co. v. Ataka & Co., 71 A.D.2d 370, 374 (1979)).

   To circumvent this principle and hold a corporate parent liable (or in this case, an indirect parent),

   the plaintiff must pierce the corporate veil by setting forth allegations showing “actual domination

   by the corporate parent over the corporate subsidiary, rather than mere ownership.” In re Natural

   Gas Commodity Litig., 337 F. Supp. 2d 498, 515 (S.D.N.Y. 2004) (citing De Jesus v. Sears,

   Roebuck & Co., 87 F.3d 65, 69–70 (2d Cir. 1996)). Where, as here, a plaintiff asserts claims against

   a parent corporation based on a subsidiary’s actions and does not plead facts justifying veil

   piercing, the claims against the parent are properly dismissed. E.g., Sabol v. Bayer Healthcare

   Pharm., Inc., 439 F. Supp. 3d 131, 145–46 (S.D.N.Y. 2020) (taking judicial notice of the fact that


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   the parent corporation did not manufacture the product at issue and dismissing product liability

   claims against the parent corporation because the complaint did not plausibly allege domination

   of the subsidiary).

          Under the Iqbal plausibility standard, Plaintiff has not averred any facts suggesting any

   basis for finding TFSI liable under Microgenics’ contract with DOCCS. Thus, even if the

   Complaint were construed to state a claim against Microgenics, TFSI would nonetheless be

   entitled to dismissal.

   IV.    CONCLUSION

          In addition to the reasons for dismissal stated in Defendant Microgenics Corporation’s

   memorandum in support of its motion to dismiss, Plaintiff’s Second Amended Complaint

   independently fails to state a claim as to TFSI because TFSI is not a party to the contract between

   Microgenics and DOCCS on which Plaintiff bases his claims.

                                                Respectfully submitted,


   Dated: February 10, 2021                     /s/Christopher R. Carton
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